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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

 NEXTEEL CO., LTD.,
                     Plaintiff,
                   and
 SEAH STEEL CORPORATION, et al.,
                     Consolidated Plaintiffs,
                     and
                                                  Consol. Court No. 20-03898
 HUSTEEL CO., LTD., et al.,                       [and Attached Schedule]
                     Plaintiff-Intervenors,
                   v.
 UNITED STATES,
                     Defendant,
                   and
 AMERICAN CAST IRON PIPE
 COMPANY, et al.,
                     Defendant-Intervenors.

                        NOTICE OF CHANGE OF COUNSEL ADDRESS
       PLEASE TAKE NOTICE that, pursuant to Rule 75(e) of the Rules of the United States Court

of International Trade, the undersigned who has previously entered an appearance on behalf of

American Cast Iron Pipe Company and Stupp Corporation, defendant-intervenors in this action,

hereby notifies the Court that the firm of Wiley Rein LLP has changed addresses as reflected below.

                                                     Respectfully submitted,

                                                     /s/ Timothy C. Brightbill
                                                     Timothy C. Brightbill, Esq.
                                                     WILEY REIN LLP
                                                     2050 M Street, NW
                                                     Washington, DC 20036
                                                     (202) 719-7000
                                                     WileyTrade@wiley.law
                                                     Counsel to American Cast Iron Pipe
                                                     Company and Stupp Corporation
Dated: August 4, 2022
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                    Schedule to Notice of Change of Counsel Address

Court Number(s)                 Case Name                   Party or Parties Represented

                   Coalition for Fair Trade in Hardwood     Coalition for Fair Trade in
   20-03930
                          Plywood v. United States            Hardwood Plywood

                                                             American Cast Iron Pipe
   20-03935       SeAH Steel Corporation v. United States     Company and Stupp
                                                                  Corporation

                                                             American Cast Iron Pipe
   20-03940       Hyundai Steel Company v. United States      Company and Stupp
                                                                  Corporation
